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11   *Pro Hac Vice
12   Attorneys for Plaintiff Antoinette Herrera
     and the Class
13
                               UNITED STATES DISTRICT COURT
14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16
17   Antoinette Herrera, individually and                Case No. 8:18-cv-01753-DOC-ADS
     on behalf of all others similarly
18   situated,
19                                    Plaintiff,         PLAINTIFF’S NOTICE OF
                                                         VOLUNTARY DISMISSAL WITH
20   v.                                                  PREJUDICE PURSUANT TO
                                                         FEDERAL RULE OF CIVIL
21   Soothe, Inc., a Delaware corporation,               PROCEDURE 41(a)(1)(A)(i)
22                                    Defendant.
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     Notice of Dismissal with Prejudice            -1-
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Plaintiff Antoinette Herrera, pursuant to Fed.
 3   R. Civ. P. 41(a)(1)(A)(i), gives notice that she voluntarily dismisses all claims in this
 4   action as to herself in her individual capacity with prejudice. Defendant Soothe, Inc.
 5   has neither answered Plaintiff’s Complaint, nor filed a motion for summary
 6   judgment. Accordingly, this matter may be dismissed with prejudice without an
 7   Order of the Court.
 8                                               Respectfully submitted,
 9
10   Dated: January 5, 2019                      Antoinette Herrera, individually and on
                                                 behalf of all others similarly situated,
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12
13                                         By:     s/ Patrick H. Peluso
                                                 One of Plaintiff’s Attorneys
14
15                                               Steven L. Woodrow*
                                                 swoodrow@woodrowpeluso.com
16                                               Patrick H. Peluso*
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21                                               *Pro Hac Vice
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      Notice of Dismissal With Prejudice         -2-
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 1                                   CERTIFICATE OF SERVICE
 2         The undersigned, Patrick H. Peluso, hereby certifies that a true and correct
 3   copy of Plaintiff’s “Notice of Voluntary Dismissal” was served upon counsel of
 4   record by filing such papers via the Court’s ECF system on January 5, 2019.
 5                                                /s/ Patrick H. Peluso
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     Notice of Dismissal With Prejudice     -3-
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